
MORRIS, Judge.
Lorraine Bess appeals the revocation of her community control for the offense of lewd sexual battery and her resulting prison sentence of 130.5 months. We affirm the revocation and sentence without comment, but we remand for the trial court to enter a corrected order of revocation. The order of revocation entered on September 12, 2013, incorrectly states that Bess violated condition 28 and that she admitted the violation. The trial court shall enter a corrected order of revocation that lists the accurate condition violated (condition 29) and that accurately reflects that Bess did not admit the violation but was found in violation after an evidentiary hearing.
Affirmed; remanded.
ALTENBERND and LaROSE, JJ., Concur.
